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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                       )
                                                               )
v.                                                             )
                                                               ) CRIM NO. 21-MJ-396
ERIC CLARK,                                                    )
                                                               ) Judge: Harvey
                                                               )
Defendant.                                                     ) Status Date: November 8, 2022

                                     AMENDED1 MOTION TO
                                   CONTINUE STATUS HEARING

            COMES NOW Eric Clark, through counsel, and requests continuance of the

    status hearing currently scheduled for November 8, 2022, and the setting of a new

    status date as soon as available. As reasons therefor, defendant states as follows:

            1. This matter is currently scheduled for a status hearing before this court on

    November 8, 2022, which also happens to be Election Day.

            2. Undersigned counsel was appointed to this case on September 19, 2022.

    Prior to that date, the present status date had been set. The matter had been set via

    pleadings filed with the court by prior counsel.

            3. Mr. Clark only became aware of the court date when undersigned counsel

    spoke to him yesterday and told him of the status date. Mr. Clark is scheduled to be

    working as a poll worker. He is required to be present at the poll location the entire


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    Amended from Motion to Continue Status filed late last week
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day. In fact, Mr. Clark could face criminal charges if he fails to appear at the poll

location to which he has been assigned on Election Day.

       4. Mr. Clark would respectfully request a short continuance of the status

hearing, for less than a week, so that it does not conflict with his commitment on

November 8, 2022. Undersigned counsel is available any day in the next few weeks

in the afternoon except for November 10, 2022.

       5. In addition, Mr. Clark waives the time until the next court date to be

excluded under the Speedy Trial Act.

      6. Undersigned counsel has been in contact with AUSA Jim Peterson, and he

indicates that the government does not have a position at this time.

            WHEREFORE, the defendant requests a continuance of the status

hearing.

                                               Respectfully submitted,

                                               ERIC CLARK
                                               By Counsel

                                               /s/ John L. Machado
                                               John L. Machado, Esq.
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                             Certificate of Service

 I hereby certify that a true copy of the foregoing was electronically filed with
  the Clerk of the Court using the CM/ECF system this 7th day of November,
2022, which will send a notification of such filing (NEF) to the following to all
                                counsel of record.

       /s/John L. Machado
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